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                                                                             FILED
                                                                         July 10, 2024
    SEALED                                                          CLERK, U.S. DISTRICT COURT
                                                                    WESTERN DISTRICT OF TEXAS
                      UNITED STATES DISTRICT COURT                      By:        RR
                       WESTERN DISTRICT OF TEXAS                                         Deputy
                          SSAaNnAANnTtOoNnIiOo DIVISION
                                                      Case No:         SA:24-CR-00331-XR

UNITED STATES OF AMERICA
        Plaintiff

               v
                                            INDICTMENT
    1 IVAN RIVAS RENTERIA
    2 ALMA ROSALIA VELEZ ANDRADE            COUNT 1: 18 U.S.C. § 933
                                            Conspiracy to Traffic Firearms
        Defendants.

                                            COUNT 2: 18 U.S.C. § 932
                                            Conspiracy to Straw Purchase Firearms


                                            COUNT 3: 18 U.S.C. § 371, 554(a)
                                            Conspiracy to Smuggle Goods from the
                                            United States


                                            COUNT 4: 18 U.S.C. § 922(a)(6)
                                            Falsifying Information When Buying
                                            Firearms




THE GRAND JURY CHARGES:

                                  COUNT ONE
                          Conspiracy to Traffic Firearms
                               [18 U.S.C. § 933(a)]



                              Ivan Rivas Renteria
                           Alma Rosalia Velez Andrade
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M249SA10117, to another person, in or otherwise affecting interstate and foreign commerce,

knowing or having reasonable cause to believe that the use, carrying, or possession of the firearm

by the recipient would constitute a felony, to wit, Conspiracy to Straw Purchase Firearms and

Conspiracy to Smuggle Goods from the United States, in violation of Title 18, United States Code,

Section 933(a)(1).

                                        COUNT TWO
                            Conspiracy to Straw Purchase Firearms
                                       [18 U.S.C. § 932]

                                                                     Defendants,


                                   (1) IVAN RIVAS RENTERIA and
                              (2) ALMA ROSALIA VELEZ ANDRADE,


and others, did knowingly conspire to purchase at least one firearm, to wit: a FNH M249S, 5.56


caliber rifle, bearing serial number M249SA10117, in and affecting interstate and foreign


commerce, for, on behalf of, and at the request and demand of any other person, knowing and


having reasonable cause to believe that such other person intended to use, carry, possess, sell and


otherwise dispose of the firearm in furtherance of a felony, to wit, Conspiracy to Smuggle Goods


from the United States and Conspiracy to Traffic Firearms, all in violation of Title 18, United


States Code, Section 932.


                                      COUNT THREE
                     Conspiracy to Smuggle Goods from the United States
                                   [18 U.S.C. § 371, 554(a)]



                                      Ivan Rivas Renteria
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5.56 caliber rifle, bearing serial number M249SA10117, from the United States, and received,

concealed, bought, and facilitated the transportation of these firearms prior to exportation, knowing

they were intended for exportation contrary to any law or regulation of the United States, to wit,

Title 15, Code of Federal Regulations, Parts 736.2(b)(1), 774, & 738, Supplement 1, in that

Defendants knew they did not have a license or written authorization for such exports, in violation

of Title 18, United States Code, Section 554(a).

                                    MANNER AND MEANS

       The conspiracy was carried out through the following manner and means, among others:

1. Individuals in Mexico coordinated with (2) VELEZ ANDRADE and (1) RIVAS RENTERIA

   to purchase a M249 rifle that would then be transported to Mexico.

2. Individuals in Mexico sent money via Western Union to (2) VELEZ ANDRADE and (1)

   RIVAS RENTERIA for the purchase of the rifle.

3. (2) VELEZ ANDRADE and (1) RIVAS RENTERIA then purchased the firearm with the intent

   that it would then be transported to the individuals in Mexico.

                                            OVERT ACTS

       In furtherance of the conspiracy and to effect and accomplish its objects, Defendant

committed, among others, the overt acts listed below, in the Western District of Texas:

1. On or about May 14, 2024, (2) VELEZ ANDRADE received two wire transfers through

   Western Union from Michoacan, Mexico. (1) RIVAS RENTERIA also received two wire

   transfers through Western Union from Michoacan, Mexico that same day.

2. Approximately a week later, (2) VELEZ ANDRADE received two additional wire transfers

   through Western Union from Michoacan, Mexico. These wire transfers were for the purpose

   of purchasing a M249 rifle. The total amount that (2) VELEZ ANDRADE and (1) RIVAS



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   RENTERIA received from Michoacan covered the cost of the firearm.

3. (1) RIVAS RENTERIA pulled the cash from the wire transfers at various Walmart locations
                                                                                             I.
   in San Antonio, Texas.
                                                        Firearms Violations and Forfeitu
4. The day after the final wire transfers, (1) RIVAS RENTERIA went to the FFL in San Antonio
                [Title 18 U.S.C. § 922(g)(1), subject to forfeiture pursua
   and attempted to purchase the M249 rifle, but his bank card was declined.
                                   made applicable to criminal forfeiture by T

5. The following day, (1) RIVAS RENTERIA returned to the FFL and purchased the M249 rifle

   in cash.              As a result of the criminal violation set forth in Cou


       All in violation of Title 18, United States Code, Section 371.

                                        COUNT FOUR
                        Falsifying Information When Buying Firearms
                                     [18 U.S.C. § 922(a)(6)]
              described below upon conviction pursuant to Fed. R. Crim.
                                                                        Defendant,


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                                           lNfT
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                                                RfIe
                                                   A iture by 28 U.S.C. § 2461. S


in connection with the acquisition of a firearm, to wit, a FNH M249S, 5.56 caliber rifle, bearing


serial number M249SA10117, from a licensed dealer of firearms within the meaning of Chapter


44, Title 18, United States Code, knowingly made a false and fictitious written statement to the


licensed dealer, which statement was intended and likely to deceive the dealer as to a fact material


to the lawfulness of such acquisition of the said firearm to the defendant under chapter 44 of Title


18, in that IVAN RIVAS RENTERIA executed a Department of Justice, Bureau of Alcohol,


Tobacco, Firearms, and Explosives Form 4473, Firearms Transaction Record, stating he was the


actual buyer of the firearm indicated on the Form 4473, when in fact as he then knew, he was not


the actual buyer of the firearm, in violation of Title 18, United States Code, Section 922(a)(6).


    NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE
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                                                  I.
                          Firearms Violations and Forfeiture Statutes
  [Title 18 U.S.C. § 922(g)(1), subject to forfeiture pursuant to Title 18 U.S.C. § 924(d)(1),
               made applicable to criminal forfeiture by Title 28 U.S.C. § 2461]


       As a result of the criminal violation set forth in Counts One, Two, and Three, the United


States of America gives notice to Defendant      of its intent to seek the forfeiture of the property


described below upon conviction pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 924, as


made applicable to criminal forfeiture by 28 U.S.C. § 2461. Section 924 states in pertinent part:


       Title 18 U.S.C. § 924. Penalties

                (d)(1) Any firearm or ammunition involved in or used in any knowing
               violation of subsection . . . (g) . . . of section 922, . . . shall be subject to
               seizure and forfeiture . . . under the provisions of this chapter......

This Notice of Demand for Forfeiture includes, but is not limited to, the following properties:

       1. FNH M249S, 5.56 caliber rifle, bearing serial number M249SA10117;
       2. Any and all firearms, ammunition, and/or firearm accessories involved in or used in
          the commission of the criminal offense.




       JAIME ESPARZA
       UNITED STATES ATTORNEY


BY:
       FOR AAl   CiIa
              LiIc  AM CN
                      Mc NaAbB
       Assistant United States Attorney




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